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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

NETCHOICE, LLC d/b/a NETCHOICE,                       §
a 501(c)(6) District of Columbia organization,        §
and COMPUTER & COMMUNICATIONS                         §
INDUSTRY ASSOCIATION d/b/a CCIA,                      §
a 501(c)(6) non-stock Virginia Corporation,           §
                                                      §
                Plaintiffs,                           §
                                                      §
v.                                                    §                    1:21-CV-840-RP
                                                      §
KEN PAXTON, in his official capacity as Attorney      §
General of Texas,                                     §
                                                      §
                Defendant.                            §

                                                 ORDER

        Before the Court is Plaintiffs NetChoice, LLC d/b/a NetChoice, a 501(c)(6) District of

Columbia organization, and Computer & Communications Industry Association d/b/a CCIA, a

501(c)(6) non-stock Virginia corporation’s (“Plaintiffs”) Motion for Protective Order, (Dkt. 29), and

Defendant Ken Paxton’s (“Defendant”) response in opposition, (Dkt. 34). After considering the

parties’ briefs, the record, and the relevant law, the Court grants the motion.

        The Court finds that Plaintiffs have shown good cause for entry of a protective order. The

Court finds that Defendant has not negotiated with Plaintiffs or followed this Court’s order in good

faith. In its October Order, this Court permitted expedited discovery that was narrowly-tailored and

“targeted . . . to obtain precise information without burdening Plaintiffs’ members.” (Order, Dkt. 25,

at 4). The Court expressed confidence that Defendant would “significantly tailor” his requests. (Id.).

Defendant failed to do so. For example, Defendant insisted on still serving 8 out of 9 exceedingly

overbroad document requests that would result in a production of millions of documents. (Mot.,

Dkt. 29, at 2–4); (see Resp., Dkt. 34, at 4–6). By failing to significantly tailor its requests, Defendant



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has not followed this Court’s Order and has needlessly wasted its very limited time to seek discovery

in advance of its November 22, 2021 response deadline.

       IT IS ORDERED that Plaintiffs’ motion for protective order, (Dkt. 29), is GRANTED.

       IT IS FURTHER ORDERED that Defendant may seek only the following expedited

discovery in advance of its November 22, 2021 response deadline:

           1. Depositions of Matthew Schruers (CCIA), Carl Szabo (NetChoice), Alexandra N.
              Veitch (YouTube), and Neil Potts (Facebook), limited to the information contained
              in their respective declarations, and limited to no longer than 4 hours each;

           2. Depositions of Carlos Gutierrez (LGBT Technology Institute), Stacie D. Rumenap
              (Stop Child Predators), and Servando Esparza (Technology Network), limited to the
              information contained in their respective declarations, and limited to no longer than
              2 hours each;

           3. Requests for production of the non-privileged documents the declarants relied on
              when drafting their declarations; and

           4. Interrogatories directed to the two Plaintiffs, as served by Defendant on October 28,
              2021.

       IT IS FINALLY ORDERED that the documents shall be produced by November 8,

2021, and the depositions shall occur between November 10 and 17, 2021.

       The Court again stresses that it expects the parties to work together in good faith to resolve

discovery disputes and to follow this Court’s orders and instructions.

         SIGNED on November 2, 2021.


                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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